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                             HEARING DATE AND TIME: MAY 15, 2019 AT 2:00 P.M. (EASTERN TIME)
                   OBJECTION DEADLINE DATE AND TIME: MAY 8, 2019 AT 5:00 P.M. (EASTERN TIME)

     John E. Mitchell (Admitted Pro Hac Vice)                    Andrea S. Hartley (Admitted Pro Hac Vice)
     Yelena Archiyan (Admitted in New York)                      Katherine C. Fackler (Admitted Pro Hac Vice)
     AKERMAN LLP                                                 Joanne Gelfand (Admitted in New York)
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     Dallas, TX 75201                                            98 Southeast Seventh Street, Ste. 1100
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                                                                 Miami, FL 33131
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                                                                 Tel.: (305) 374-5600
                                                                 Fax: (305) 374-5095
     Counsel to the Debtors and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 In re:                                                  )          Chapter 11
                                                         )
 MIAMI METALS I, INC., et al.1                           )          Case No. 18-13359 (shl)
                                                         )
                                                         )          (Jointly Administered)
                                Debtors.                 )
                                                         )

                 NOTICE OF HEARING ON DEBTORS' EMERGENCY MOTION
      (I) TO ENFORCE AUTOMATIC STAY AGAINST FUNDACION RAFAEL DONDE
        I.A.P., (II) TO HOLD FUNDACION RAFAEL DONDE I.A.P. IN CONTEMPT OF
          COURT, (III) FOR AN AWARD OF SANCTIONS AGAINST FUNDACTION
                    RAFAEL DONDE I.A.P., AND (IV) FOR RELATED RELIEF

            PLEASE TAKE NOTICE that a hearing on the Debtors' Emergency Motion (I) to

 Enforce Automatic Stay Against Fundacion Rafael Donde I.A.P., (II) to Hold Fundacion Rafael




 1The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
 number, include: Miami Metals I, Inc. (f/k/a Republic Metals Refining Corporation), 15 West 47th Street, Suites 206
 and 209, New York, NY 10036 (3194); Miami Metals II, Inc. (f/k/a Republic Metals Corporation), 12900 NW 38th
 Avenue, Miami, FL 33054 (4378); Miami Metals III LLC (f/k/a Republic Carbon Company), 5295 Northwest 163rd
 Street, Miami Gardens, FL 33014 (5833); Miami Metals IV LLC (f/k/a J & L Republic LLC), 12900 NW 38th Avenue,
 Miami, FL 33054 (7604); Miami Metals V LLC (f/k/a R & R Metals, LLC), 12900 NW 38th Avenue, Miami, FL
 33054 (7848); Miami Metals VI (f/k/a RMC Diamonds, LLC), 12900 NW 38th Avenue, Miami, FL 33054 (1507);
 Miami Metals VII (f/k/a RMC2, LLC), 12900 NW 38th Avenue, Miami, FL 33054 (4696); Miami Metals VIII (f/k/a
 Republic High Tech Metals, LLC), 13001 NW 38 Avenue, Miami, FL 33054 (6102), 12900 NW 38th Avenue, Miami,
 FL 33054 (1507); Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R.
 200001 China (1639); and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409,
 Centro Joyero Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).



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 Donde I.A.P. in Contempt of Court, (III) for an Award of Sanctions Against Fundacion Rafael

 Donde I.A.P., and (IV) for Related Relief (the "Motion"), will be held before the Honorable

 Sean H. Lane, United States Bankruptcy Judge, in Room 701 of the United States Bankruptcy

 Court for the Southern District of New York (the "Bankruptcy Court"), One Bowling Green,

 New York, New York 10004, on May 15, 2019 at 2:00 p.m. (Eastern Time), or as soon

 thereafter as counsel may be heard.

          PLEASE TAKE FURTHER NOTICE that any responses or objections to the Motion

 (the "Objections") must be in writing, shall conform to the Federal Rules of Bankruptcy

 Procedure and the Local Bankruptcy Rules for the Southern District of New York, and shall be

 filed with the Bankruptcy Court (a) by registered users of the Bankruptcy Court's case filing

 system, electronically in accordance with General Order M-399 (which can be found at

 http://nysb.uscourts.gov) and (b) the Chambers of the Honorable Sean H. Lane ("Chambers"),

 United States Bankruptcy Court for the Southern District of New York, One Bowling Green, New

 York, New York 10004; (c) the Debtors, Miami Metals I, Inc. f/k/a Republic Metals Refining

 Corporation, (Attn: Scott Avila); (d) the attorneys for the Debtors, Akerman LLP, 2001 Ross

 Avenue, Suite 3600, Dallas, TX 75201 (Attn: John Mitchell, Esq.) and 98 Southeast Seventh

 Street, Suite 1100, Miami, FL 3313 (Attn: Andrea S. Hartley, Esq. and Katherine C. Fackler,

 Esq.); (e) the Office of the United States Trustee for the Southern District of New York (the "U.S.

 Trustee"), U.S. Federal Office Building, 201 Varick Street, Suite 1006, New York, New York

 10014 (Attn: Shannon Scott, Esq.); (f) the attorneys for the Official Committee of Unsecured

 Creditors of Miami Metals I, Inc., Cooley LLP, 55 Hudson Yards, New York, NY 10001; and (g)

 all entities that requested notice in these chapter 11 cases under Fed. R. Bankr. P. 2002 so as to




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 be received no later than May 8, 2019 at 5:00 p.m. (Eastern Time) (the "Objection

 Deadline").

          PLEASE TAKE FURTHER NOTICE that if no Objections are timely filed and served

 with respect to the Motion, the Debtors may, on or after the Objection Deadline, submit to the

 Bankruptcy Court an order substantially in the form of the proposed order annexed to the Motion,

 which order may be entered with no further notice or opportunity to be heard.

  Dated: May 3, 2019
                                                     AKERMAN LLP


                                                     By:     /s/John Mitchell_______
                                                            John E. Mitchell
                                                            (Admitted Pro Hac Vice)
                                                            Yelena Archiyan
                                                            (Admitted in New York)
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                                                                          - and -

                                                            Andrea S. Hartley
                                                            (Admitted Pro Hac Vice)
                                                            Katherine C. Fackler
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                                                            E-Mail: joane.gelfand@akerman.com


                                                     Counsel for Debtors and Debtors-in-Possession


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                                                                 Tel.: (305) 374-5600
                                                                 Fax: (305) 374-5095
     Counsel to the Debtors and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 In re:                                                  )          Chapter 11
                                                         )
 MIAMI METALS I, INC., et al.1                           )          Case No. 18-13359 (shl)
                                                         )
                                                         )          (Jointly Administered)
                                Debtors.                 )
                                                         )

                             DEBTORS' EMERGENCY MOTION
      (I) TO ENFORCE AUTOMATIC STAY AGAINST FUNDACION RAFAEL DONDE
        I.A.P., (II) TO HOLD FUNDACION RAFAEL DONDE I.A.P. IN CONTEMPT OF
          COURT, (III) FOR AN AWARD OF SANCTIONS AGAINST FUNDACTION
                    RAFAEL DONDE I.A.P., AND (IV) FOR RELATED RELIEF

            Miami Metals I, Inc., et al., as debtors and debtors-in-possession (collectively the

 "Debtors") in the above-captioned Chapter 11 cases (the "Chapter 11 Cases"), by and through their




 1The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
 number, include: Miami Metals I, Inc. (f/k/a Republic Metals Refining Corporation), 15 West 47th Street, Suites 206
 and 209, New York, NY 10036 (3194); Miami Metals II, Inc. (f/k/a Republic Metals Corporation), 12900 NW 38th
 Avenue, Miami, FL 33054 (4378); Miami Metals III LLC (f/k/a Republic Carbon Company), 5295 Northwest 163rd
 Street, Miami Gardens, FL 33014 (5833); Miami Metals IV LLC (f/k/a J & L Republic LLC), 12900 NW 38th Avenue,
 Miami, FL 33054 (7604); Miami Metals V LLC (f/k/a R & R Metals, LLC), 12900 NW 38th Avenue, Miami, FL
 33054 (7848); Miami Metals VI (f/k/a RMC Diamonds, LLC), 12900 NW 38th Avenue, Miami, FL 33054 (1507);
 Miami Metals VII (f/k/a RMC2, LLC), 12900 NW 38th Avenue, Miami, FL 33054 (4696); Miami Metals VIII (f/k/a
 Republic High Tech Metals, LLC), 13001 NW 38 Avenue, Miami, FL 33054 (6102), 12900 NW 38th Avenue, Miami,
 FL 33054 (1507); Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R.
 200001 China (1639); and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409,
 Centro Joyero Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).



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 undersigned counsel, file their Emergency Motion (I) to Enforce the Automatic Stay Against

 Fundacion Rafael Donde I.A.P. ("Donde"), (II) to Hold Donde in Contempt of Court, (III) for an

 Award of Sanctions Against Donde, and (IV) for Related Relief. In support of this Motion, the

 Debtors state as follows:

                                         JURISDICTION

          1.    The United States Bankruptcy Court for the Southern District of New York (the

 "Court") has jurisdiction over this Application pursuant to 28 U.S.C. §§ 157 and 1334. This matter

 is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

          2.    Venue in the Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

          3.    The statutory bases for the relief requested herein are sections 105(a) and 362 of

 Title 11 of the United States Code (the "Bankruptcy Code") and Rules 9014 and 9020 of the

 Federal Rules of Bankruptcy Procedure (the "Bankruptcy Rules").

                                         BACKGROUND

          4.    On November 2, 2018, the Debtors filed voluntary petitions for relief under chapter

 11 of the Bankruptcy Code initiating these Chapter 11 Cases. On November 21, 2018, certain

 additional debtors, including Republic Trans Mexico Metals, S.R.L. ("RTMM") filed voluntary

 petitions for relief under the Bankruptcy Code, initiating their Chapter 11 Cases.

          5.    The Debtors continue to operate their businesses and manage their properties as

 debtors in possession pursuant to 11 U.S.C. §§ 1107(a) and 1109. On November 19, 2018, the

 United States Trustee gave notice of the appointment of an Official Committee of Unsecured

 Creditors [ECF No. 113].

          6.    Additional details regarding these Chapter 11 Cases are available in the Declaration

 of Scott Avila, as Chief Restructuring Officer, in Support of Chapter 11 Petitions and First Day

 Motions [ECF No. 2].

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          7.    On November 28, 2018, Donde appeared through counsel, DLA Piper LLP (US),

 in the Chapter 11 Cases [ECF No. 205].

          8.    On November 29, 2018, Donde filed an Objection to the Debtors' Motion to Use

 Cash Collateral [ECF No. 227]. Through that Objection, Donde alleges RTMM and the Debtors

 are holding a total of 9,757.85 ounces of gold and 2,644.25 ounces of silver, which are not the

 Senior Lenders' collateral.

          9.    On January 4, 2019, the Debtors filed a Notice of Presentment of Order Approving

 RTMM Product Settlement with Donde [ECF Nos. 374 and 398], whereby, among other things,

 RTMM agreed to return approximately $3,000,000 of segregated and identifiable Product (as

 defined therein) to Donde in exchange for Donde's agreement not to criminally prosecute RTMM

 and its representatives for claims.

          10.   On January 16, 2019, Donde filed an Objection to the Debtors' Motion for

 Authority to Pay Certain Discretionary Employee Bonuses Pursuant to 11 U.S.C. §§ 105 and 363,

 and the Debtors' Motion to Pay Attorneys' Fees of Certain Debtor Representatives Pursuant to 11

 U.S.C. §§ 105(a) and 363(b) [ECF No. 417]. Donde argued the Debtors should not be allowed to

 pay for legal counsel to Joseph Liberman, a representative of RTMM ("Mr. Liberman"), who

 Donde is now criminally prosecuting in Mexico.

          11.   Donde has filed three (3) proofs of claim in the Bankruptcy Case: (i) claim no. 407,

 against Debtor Miami Metals I, (ii) claim no. 408, against Debtor Miami Metals II, and (iii) claim

 no. 409, against Debtor RTMM.

          12.   On January 18, 2019, Donde filed its Customer Statement (the "Customer

 Statement") [ECF No. 454] pursuant to the Order Approving Uniform Procedures for Resolution

 of Ownership Disputes (the "Uniform Procedures Order") [ECF No. 395]. In the Customer



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 Statement, Donde again asserts its interest in the Disputed Assets and lists other potential claims

 against RTMM and its affiliated Debtors, and surprisingly included claims pursuant to Mexican

 criminal law.

          13.    The Uniform Procedures Order specifically states that "[t]he Debtors, the Senior

 Lenders, and Customers who file a Customer Statement (as defined below) pursuant to this Order

 agree (a) to the resolution in the Bankruptcy Court pursuant to the procedures set forth in this

 Order of the sole issue of the Ownership Disputes regarding the Assets and (b) the procedures shall

 be governed by Federal Rule of Bankruptcy Procedure 9014, except to the extent modified below."

 See ECF No. 395, p. 3 ¶1.

          14.    On February 19, 2019, the Debtors filed their Omnibus Response to Customer

 Statements [ECF No. 648], including Donde's Customer Statement, pursuant to the Uniform

 Procedures Order, asserting the Debtors' ownership of the Disputed Assets.

          15.    On March 11, 2019, Donde filed a Supplemental Customer Statement in

 Accordance with the Uniform Procedures Order (the "Supplemental Customer Statement") [ECF

 No. 758], as well as its Initial Disclosures Pursuant to Fed. R. Civ. P. 26(a)(1) and Bankruptcy

 Rules 7026 and 9014 (the "Initial Disclosures") [ECF No. 764]. In Donde's Supplemental

 Customer Statement, Donde reasserted its claims pursuant to Mexican law.

          16.    On April 11, 2019, Donde issued two (2) subpoenas to Mr. Liberman, requiring

 him to appear at the office of the Mexican public prosecutor on April 15, 2019 (the "Subpoenas").

          17.    On April 11, 2019, at approximately 1:00 p.m. Eastern Time, a Mr. Alejandro

 Jaimes Gutierrez ("Jaimes") appeared at RTMM's offices in Mexico City, introduced himself as

 counsel to Donde, spoke with a representative of RTMM, and sought information from RTMM

 regarding certain product and materials.



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          18.      In response to that visit, that same day on April 11, 2019, counsel to RTMM sent

 counsel to Donde a letter (the "April 11 Letter") advising Donde that Jaimes' actions, inter alia,

 violated the automatic stay pursuant to 11 U.S.C. § 362(a)(6). The April 11 Letter also requests

 confirmation that Jaimes will take no further action with respect to RTMM, its representatives, or

 its assets, outside of seeking relief in the Bankruptcy Case. A copy of the April 11, 2019 letter is

 attached hereto and incorporated herein as Exhibit "A."

          19.      The Debtors, in the April 11 Letter, further advised Donde that continued violations

 of the stay might result in the Debtors, inter alia, filing a motion to enforce the automatic stay and

 seeking sanctions against Donde.

          20.      By letter dated April 15, 2019 (the "April 15, 2019 Letter"), Jaimes informed

 RTMM that on April 8, 2019, Donde filed a criminal complaint against RTMM, Mr. Liberman,

 and Jason Rubin in Mexico (the "Criminal Complaint").2

          21.      In the April 15, 2019 Letter Jaimes further informed the Debtors the purpose of his

 visit to RTMM was to seek information "regarding the bank accounts and investment accounts in

 the name of Mr. Liberman, Jason Rubin and/or RTMM." A copy of the April 15, 2019 Letter is

 attached hereto and incorporated herein as Exhibit "B".

          22.      In the April 15, 2019 Letter, Jaimes confirmed "the purpose of [his] visit was to

 formally request from [RTMM's representative] the return of the gold, contained silver and

 money property of [Donde]" (emphasis added).

                                            RELIEF REQUESTED

          23.      By this Motion, Debtors seek entry of an Order: (i) enforcing the automatic stay

 against Donde; (ii) deeming any postpetition actions by Donde to recover on claims against the


 2
  The Debtors are having the Criminal Complaint translated into English and will file a copy of the translated Criminal
 Complaint before May 15, 2019.

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 Debtors, or obtain possession of, or exercise control over the Disputed Assets and property of the

 Debtors' estates null and void and of no effect; (iii) holding Donde in contempt of Court for

 Donde's repeated, ongoing violations of the automatic stay and the Court's Uniform Procedures

 Order through and until the Criminal Complaint is withdrawn and the parties pardoned; (iv)

 prohibiting Donde from taking any further action to recover on claims against the Debtors or to

 obtain possession of, or exercise control over property of the Debtors' estates, including the

 Disputed Assets, outside the Bankruptcy Court; and (v) awarding the Debtors monetary sanctions

 against Donde.

          24.     By filing its Customer Statement pursuant to the Court's Uniform Procedures Order,

 Donde affirmatively agreed that this Court would decide any ownership issues regarding the

 Disputed Assets, exclusive of any other Courts or proceedings. In violation of the automatic stay

 and the Uniform Procedures Order, Donde then initiated parallel proceedings in Mexico, without

 seeking relief from the automatic stay and in direct violation of this Court's Uniform Procedures

 Order.

                                      BASIS FOR THE RELIEF

          25.     Upon the filing of a bankruptcy petition, section 362 of the Bankruptcy Code

 operates as a stay, applicable to all entities of:

                  (1) the commencement or continuation, including the issuance or
                  process, of a judicial, administrative, or other action or proceeding
                  against the debtor that was or could have been commenced before the
                  commencement of the case under this title, or to recover a claim
                  against the debtor that arose before the commencement of the case
                  under this title;
                  …
                   (3) any act to obtain possession of property of the estate or of
                  property from the estate or to exercise control over property of the
                  estate;
                   …



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                (6) any act to collect, assess, or recover a claim against the debtor
                that arose before the commencement of the case under this title;


 11 U.S.C. § 362(a)(1), (3), (6); see also, Underwood v. Hilliard (In re Rimsat, Ltd.), 98 F.3d 956,

 961 (7th Cir. 1996) (bankruptcy court's in rem jurisdiction over property of the estate permits

 injunctions against foreign proceedings pursuant to the automatic stay);

          26.   A creditor’s contact with a debtor in order to obtain information for the purpose of

 collecting on its claim is a willful violation of sections 362(a)(3) and (a)(6). In re Hromidko, 302

 B.R. 629 (Bankr. N.D. Iowa 2003) (Postpetition contacts by creditor's collection agent were

 "willful," and thus supported sanctions for automatic stay violation, in that agent's actions were

 deliberate and were taken with knowledge of debtor's bankruptcy case, given imputation to agent

 of creditor's prior knowledge of Chapter 7 case); In re Skeen, 248 B.R. 312, 318 (Bankr. E.D.

 Tenn. 2000) ("a creditor advised that a bankruptcy has been filed or is being filed should continue

 the conversation only long enough to obtain information to verify the bankruptcy…."); and In re

 Am. Med. Utilization Mgmt. Corp., 494 B.R. 626, 635 (Bankr. E.D.N.Y. 2013) ("[R]elief for

 damages to a corporate debtor resulting from violation of the automatic stay lies with the court's

 contempt power and § 105.").

          27.   The automatic stay exists to protect the estate from "'a chaotic and uncontrolled

 scramble for the Debtor's assets in a variety of uncoordinated proceedings in different courts.'" In

 re Nakash, 190 B.R. 763, 768 (Bankr. S.D.N.Y. 1996) (internal quotation marks and citation

 omitted).

          28.   Importantly, the automatic stay has an extraterritorial reach. In Chapter 11 cases,

 the automatic stay prohibits litigation to obtain possession or control of the estate's property

 "regardless of where such litigation is commenced." Sec. Investor Prot. Corp. v. Bernard L. Madoff



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 Inv. Sec. LLC, 474 B.R. 76, 81-82 (S.D.N.Y. 2012) (internal citations omitted). Numerous opinions

 explain, "the automatic stay applies extraterritorially." Id. In recognizing the extraterritorial reach

 of the automatic stay, this Court has cited to the Seventh Circuit, which explains that "[t]he efficacy

 of the bankruptcy proceeding depends on the court's ability to control and marshal the assets of the

 debtor wherever located (see § 541(a))...." Id. citing to Underwood v. Hilliard (In re Rimsat, Ltd.),

 98 F.3d 956, 961 (7th Cir. 1996). "The mere existence of a foreign proceeding affecting the debtor

 does not . . . invalidate the stay by giving it an impermissible extraterritorial reach." Rimsat, 98

 F.3d at 961. As in all bankruptcy cases, "the efficacy of the bankruptcy proceeding depends on the

 court's ability to control and marshal the assets of the debtor wherever located (see § 541(a))," Id.

 See also In re Soundview Elite, Ltd., 503 B.R. 571, 584 (Bankr. S.D.N.Y. 2014) ("U.S. law is clear

 that immediately upon the filing of the Debtors' chapter 11 petition, the U.S. automatic stay became

 effective both in the U.S. and extraterritorially."); In re Gold & Honey, Ltd., 410 B.R. 357, 369

 (Bankr. E.D.N.Y. 2009)3; and Hong Kong & Shanghai Banking Corp. v. Simon (In re Simon), 153

 F.3d 991, 996 (9th Cir. 1998).

          29.      Section 105(a) provides an additional basis for the relief requested herein and

 provides, in relevant part, that "[t]he Court may issue any order, process, or judgment that is

 necessary or appropriate to carry out the provisions of this title." 11 U.S.C.§ 105(a). Under section

 105, a bankruptcy judge may "enjoin proceedings in other courts when it is satisfied that such a

 proceeding would defeat or impair its jurisdiction with respect to a case before it." Johns-Manville

 Corp. v. Colorado Ins. Guar. Association (In re Johns-Manville Corp.), 91 B.R. 225, 228 (Bankr.


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   Once the Chapter 11 Cases were filed, the Bankruptcy Code contains a number of provisions which FIBI could have
 invoked prior to proceeding in Israel. FIBI could have requested this Court to determine that the filing of the Chapter
 11 Cases was not legitimate, and sought stay relief under Section 362, abstention under Section 305, and/or dismissal
 or conversion under Section 1112. FIBI failed to do so. However, it is for this Court, with jurisdiction over the
 Chapter 11 Cases, to decide whether and when to grant relief from the stay, but respectfully, not for the Israeli
 Court to decide to not recognize and apply the stay. In re Gold & Honey, Ltd., 410 B.R. 357, 369 (Bankr. E.D.N.Y.
 2009) (emphasis added).

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 S.D.N.Y. 1988) (citation omitted)). In addition, section 105(a) has been used to enjoin

 extraterritorial violations of the automatic stay. See, e.g., In re Lykes Bros. S.S. Co., 191 B.R. 935,

 936 (Bankr. M.D. Fla. 1995) (enjoining "all creditors which are subject to the personal jurisdiction

 of this Court, whether citizens of the United States or foreign entities . . ." from transferring claims

 to other foreign entities not subject to the personal jurisdiction of the bankruptcy court); cf. In re

 Lykes Bros. S.S. Co. v. Hanseatic Marine Serv., 207 B.R. 282, 288 (Bankr. M.D. Fla. 1997)

 (enjoining foreign defendants from bringing foreign action under Federal Rule of Civil Procedure

 65, which also includes no explicit grant of extraterritorial authority).

 A.       Donde is Willfully Violating the Automatic Stay.

          30.    Donde’s filing and continued prosecution of the Criminal Complaint, the

 Subpoenas, and Jaimes' visit to RTMM's premises are all willful violations of the automatic stay

 because they are acts directed toward collecting the debts Donde alleges are owed by RTMM,

 obtaining possession of the Disputed Assets, and seizing RTMM’s bank accounts.

          31.    Donde's April 15, 2019 Letter admits that the purpose of the Criminal Complaint

 and Jaimes' visit to RTMM is to "request the return of the gold, contained silver and money

 property" of Donde.

          32.    The Criminal Complaint, Subpoenas, and Jaimes' visit to RTMM all come within

 the direct scope of acts prohibited by section 362(a) of the Bankruptcy Code, as Donde is

 attempting to recover on alleged claims against the Debtors, seize property of the estate, and obtain

 possession of, or exercise control over, the Disputed Assets, which the Debtors assert belong to

 them. Donde's actions are explicitly prohibited by sections 362(a)(1), (3), and (6) of the

 Bankruptcy Code.




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          33.    Notably, Donde is using criminal proceedings against individuals in attempt to

 collect corporate debts. Such actions are illegal under United States law. See e.g. In re Pearce,

 400 B.R. 126 (Bankr. N.D. Iowa 2009) (Creditor violated the automatic stay when it contacted

 prosecutor and police about Chapter 7 debtor-general contractor's unpaid debt for concrete work,

 intending to collect the debt.).

          34.    Further, the Criminal Complaint and Donde's other actions threaten this Court's

 jurisdiction and imperil the orderly administration of these Chapter 11 Cases, especially in light of

 Donde's creation of two parallel proceedings seeking a determination of ownership regarding the

 Disputed Assets.

 B.       Donde is Violating the Uniform Procedures Order.

          35.    Donde's actions clearly violate the Court's Uniform Procedures Order which directs

 that this Court is the only forum for hearing and resolving the ownership disputes between the

 Debtors and their customers.

          36.    Donde voluntarily agreed to be bound by the Uniform Procedures Order when it

 filed its Customer Statement and is clearly participating in proceedings and seeking relief from the

 Bankruptcy Court, as evidenced by the three proofs of claim it filed. Four (4) months later, Donde

 filed the Criminal Complaint, without obtaining leave of this Court to seek relief in another

 jurisdiction. Donde created parallel proceedings to resolve ownership of the Disputed Assets,

 despite its explicit agreement to litigate only before this Court.

          37.    Donde's unauthorized actions may lead to divergent results, and have already

 caused the Debtors to incur significant attorney's fees and costs both in Mexico and in the United

 States. Many of the Debtors' customers are located outside the United States. If each customer




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 chose to ignore this Court's directions in the Uniform Procedures Order by filing concurrent actions

 in its local jurisdiction, the purpose of the Uniform Procedures Order would be extinguished.

 C.       The Debtors Request Sanctions Against Donde.

          38.   Based on, inter alia, the foregoing, the Debtors respectfully request the Court (i)

 award the Debtors monetary sanctions against Donde for Donde's knowing, willful, and intentional

 violations of the automatic stay and the Uniform Procedures Order, (ii) require Donde to dismiss

 the Criminal Complaint and take whatever actions are necessary in Mexico to pardon the RTMM

 representatives named in the Criminal Complaint, and (ii) prohibit Donde from initiating any

 further criminal proceedings against, or otherwise attempt to collect any debts from, the Debtors,

 outside of the Bankruptcy Case.

          39.   Willful violations of the automatic stay and of this Court's orders warrant contempt

 proceedings. Bankruptcy Rule 9020 provides that Bankruptcy "Rule 9014 governs a motion for

 an order of contempt made by the United States trustee or a party in interest." Fed. R. Bankr. P.

 9020; see also In re Robinson, 228 B.R. 75 (Bankr. E.D.N.Y. 1998) (granting motion for contempt

 and award of damages against secured creditor and law firm that represented it, based on their

 alleged violation of the automatic stay by having caused postpetition judgment to be entered in

 prepetition foreclosure proceeding brought against debtor).

          40.   By issuing the Subpoenas, filing the Criminal Complaint, and taking the other

 actions in Mexico described herein, Donde has caused the bankruptcy estate to incur significant

 fees and costs in responding to Donde's actions, including but not limited to preparing the April

 11 Letter, responding to the Mexican public prosecutor and the Criminal Complaint in Mexico,

 and filing and prosecuting this Motion.




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          41.    The relief requested herein will not prejudice or adversely affect the rights of any

 parties. Rather, it will simply enforce the automatic stay against Donde, which is self-executing

 by virtue of the filing of these Chapter 11 Cases.

                                    NO PREVIOUS REQUEST

          42.    No prior motion for the relief requested herein has been made by the Debtors to this

 or any other court.

                                               NOTICE

          43.    The Debtors have provided notice of this Motion to: (i) the Office of the U.S.

 Trustee for the Southern District of New York; (ii) counsel to the Debtors' Senior Lenders; (iii) the

 parties listed in the consolidated list of thirty (30) largest unsecured creditors filed by the Debtors

 in these Chapter 11 Cases; (iv) counsel to the Official Committee of Unsecured Creditors; (v)

 counsel for Donde; and (vi) any other party entitled to notice pursuant to Local Rule 9013-1(b)

 (collectively, the "Notice Parties"). The Debtors submit that, in light of the nature of the relief

 requested, no other or further notice need be given.

                                           CONCLUSION

          WHEREFORE, for the reasons set forth above, the Debtors respectfully request the Court

 enter an Order substantially in the form of the Order attached hereto as Exhibit "C" (i) enforcing

 the automatic stay against Donde; (ii) deeming any postpetition actions by Donde to recover on

 claims against the Debtors, or obtain possession of, or exercise control over the Disputed Assets

 and property of the Debtors' estates null and void and of no effect; (iii) holding Donde in contempt

 of Court for Donde's repeated, ongoing violations of the automatic stay and the Court's Uniform

 Procedures Order through and until the Criminal Complaint is withdrawn and the parties pardoned;

 (iv) prohibiting Donde from taking any further action to recover on claims against the Debtors or

 to obtain possession of, or exercise control over property of the Debtors' estates, including the

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 Disputed Assets, outside the Bankruptcy Court; (v) awarding the Debtors monetary sanctions

 against Donde; and (vi) granting such other and further relief as requested herein or as the Court

 otherwise deems necessary and appropriate.

  Dated: May 3, 2019
                                                     AKERMAN LLP


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                                   EXHIBIT A

                          THE APRIL 11, 2019 LETTER
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                                   EXHIBIT B

                          THE APRIL 15, 2019 LETTER
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                                  EXHIBIT C

                             PROPOSED ORDER
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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 In re:                                                       )           Chapter 11
                                                              )
 MIAMI METALS I, INC., et al.1                                )           Case No. 18-13359 (shl)
                                                              )
                                                              )           (Jointly Administered)
                                  Debtors.                    )
                                                              )

                     ORDER GRANTING DEBTORS' EMERGENCY MOTION
      (I) TO ENFORCE AUTOMATIC STAY AGAINST FUNDACION RAFAEL DONDE
        I.A.P., (II) TO HOLD FUNDACION RAFAEL DONDE I.A.P. IN CONTEMPT OF
          COURT, (III) FOR AN AWARD OF SANCTIONS AGAINST FUNDACTION
                    RAFAEL DONDE I.A.P., AND (IV) FOR RELATED RELIEF

            Upon the motion (the "Motion")2 [Doc. No. ___] of Miami Metals I, Inc., et al., as debtors

 and debtors-in-possession (collectively the "Debtors") in the above-captioned Chapter 11 cases

 (the "Chapter 11 Cases"), for entry of an Order, pursuant to sections 105(a) and 362 of the

 Bankruptcy Code and Rules 9014 and 9020 of the Bankruptcy Rules, (i) enforcing the automatic

 stay against Donde; (ii) deeming any post-petition actions by Donde to recover on claims against

 the Debtors, or obtain possession of, or exercise control over the Disputed Assets and property of

 the Debtors' estates null and void and of no effect; (iii) holding Donde in contempt of Court for

 Donde's repeated, ongoing violations of the automatic stay and the Court's Uniform Procedures



 1The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
 number, include: Miami Metals I, Inc. (f/k/a Republic Metals Refining Corporation), 15 West 47th Street, Suites 206
 and 209, New York, NY 10036 (3194); Miami Metals II, Inc. (f/k/a Republic Metals Corporation), 12900 NW 38th
 Avenue, Miami, FL 33054 (4378); Miami Metals III LLC (f/k/a Republic Carbon Company), 5295 Northwest 163rd
 Street, Miami Gardens, FL 33014 (5833); Miami Metals IV LLC (f/k/a J & L Republic LLC), 12900 NW 38th Avenue,
 Miami, FL 33054 (7604); Miami Metals V LLC (f/k/a R & R Metals, LLC), 12900 NW 38th Avenue, Miami, FL
 33054 (7848); Miami Metals VI (f/k/a RMC Diamonds, LLC), 12900 NW 38th Avenue, Miami, FL 33054 (1507);
 Miami Metals VII (f/k/a RMC2, LLC), 12900 NW 38th Avenue, Miami, FL 33054 (4696); Miami Metals VIII (f/k/a
 Republic High Tech Metals, LLC), 13001 NW 38 Avenue, Miami, FL 33054 (6102), 12900 NW 38th Avenue, Miami,
 FL 33054 (1507); Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R.
 200001 China (1639); and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409,
 Centro Joyero Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).
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     All capitalized terms not defined herein shall have the definitions set forth in the Motion.


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 Order through and until the Criminal Complaint is withdrawn and the parties pardoned; (iv)

 prohibiting Donde from taking any further action to recover on claims against the Debtors or to

 obtain possession of, or exercise control over property of the Debtors' estates, including the

 Disputed Assets, outside the Bankruptcy Court; and (v) awarding the Debtors monetary sanctions

 against Donde. It appearing that the Court has jurisdiction over this matter pursuant to 28 U.S.C.

 § 1334; and this proceeding being a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and it

 appearing that notice of the Motion as set forth therein is sufficient under the circumstances, and

 that no other or further notice need be provided; and it further appearing that the relief requested

 in the Motion is in the best interests of the Debtors' estates, creditors, and other parties-in-interest;

 and upon all of the proceedings had before the Court; and after due deliberation and cause

 appearing;

 IT IS HEREBY ORDERED THAT:

          1.     The Motion is GRANTED as set forth herein.

          2.     Donde has willfully violated the automatic stay and this Court's Uniform

 Procedures Order.

          3.     Any further prosecution of the Criminal Complaint and any other acts to collect on

 Donde's claims are enjoined pursuant to section 105(a) and 362(a) of the Bankruptcy Code. Donde

 is held in contempt of Court until it withdraws the Criminal Complaint and pardons all persons

 and entities named in the Criminal Complaint.

          4.     Any actions taken by Donde in violation of the automatic stay are null and void and

 of no effect.

          5.     Donde is prohibited from taking any further action to recover on claims against the

 Debtors or to obtain possession of, or exercise control over property of the Debtors' estates,



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 including the Disputed Assets, outside the Bankruptcy Court.

          6.    Pursuant to section 105 of the Bankruptcy Code, the Court hereby imposes

 sanctions against Donde, and Donde is ordered and directed to pay to the Debtors' actual attorney's

 fees and costs incurred as a result of Donde's willful and continuing violation of the automatic stay

 within seven (7) days of the date of this Order.

          7.    This Court shall retain jurisdiction to hear and determine all matters arising from

 the implementation and/or interpretation of this Order.

          8.    This Order shall be effective immediately upon entry by the Court.


 Dated: New York, New York
       May ___, 2019
                                                     PROPOSED
                                              _______________________________________
                                              HONORABLE SEAN H. LANE
                                              UNITED STATES BANKRUPTCY JUDGE




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